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  8                             UNITED STATES DISTRICT COURT
  9                        SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                                CASE NO. 07cr2016-IEG
 12                                    Plaintiff,               Order Following Status Conference
               vs.
 13    DOLORES LOVIN (5); MARY
       ARONSON (6); PHILIP JAMES BIDWELL
 14    (12); JEFFREY A. LIGHT (14); TRACY
       O’NEAL TYLER (15); PETER P.
 15    BRAGANSA (16),
 16                                      Defendants.
 17
 18          A Status Conference was held on December 9, 2008. Based thereon, the Court orders as

 19   follows:

 20          1.     On or before January 16, 2009, the Government will provide to defendants its list of

 21                 witnesses and exhibits to the extent practicable, including potential Rule 404(b)

 22                 evidence.

 23          2.     On or before February 3, 2009, the Government will provide defendants any Jencks

 24                 Act material and will identify any expert witnesses it intends to use at the time of

 25                 trial. In addition, on or before February 3, 2009, the Defendants will comply with

 26                 their reciprocal discovery obligations.

 27          3.     A substantive motion hearing will be held before Chief Judge Irma E. Gonzalez on

 28                 January 30, 2009 at 9:00 a.m. All motions the parties wish to have heard on this


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  1              date must be filed by January 16, 2009. Opposition to those motions must be filed
  2              by January 23, 2009.
  3        4.    An in limine motion hearing will be held before Chief Judge Irma E. Gonzalez on
  4              February 12 and 13, 2009, beginning at 9:00 a.m. on both days. All motions the
  5              parties wish to have heard on these days must be filed by January 29, 2009.
  6              Opposition to those motions must be filed by February 5, 2009.
  7        5.    Due to a conflict on the Court’s calendar, the trial is continued from February 24 to
  8              March 3, 2009 at 9:00 a.m.
  9        IT IS SO ORDERED.
 10
 11   DATED: December 10, 2008
 12
                                                 IRMA E. GONZALEZ, Chief Judge
 13                                              United States District Court
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